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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


   In Re: Asbestos Products Liability Litigation)       MDL DOCKET NO. 875
                                                )
   THIS DOCUMENT RELATES TO:                    )       Case No. 2:08-cv-0811 DCN
                                                )
   Rosalia G. Adelsflugel, individually and as )
   Personal Representative of the Estate of     )
   Albert B. Adelsflugel,                       )
                                                )
                          Plaintiff,            )
                                                )
          v.                                    )
                                                )
   Owens-Illinois, Inc., et al,                 )
                                                )
                          Defendants.           )
   ____________________________________)

                                   ORDER OF DISMISSAL

          The above-entitled action is now pending in this Court.

          NOW comes Motley Rice, LLC., Attorneys for the Plaintiff, and moves for an

   Order of Dismissal as to all remaining defendants. It is therefore,

          ORDERED that the above-referenced case is DISMISSED with prejudice.

          IT IS SO ORDERED.




                                                 ______________________________
                                                 David C. Norton
                                                 United States District Judge
   December 5, 2014
   Charleston, South Carolina
